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                                         September 23, 2021

Via ECF Only

The Honorable Paul W. Grimm
United States District Court for the District of Maryland
6500 Cherrywood Lane, Suite 465A
Greenbelt, MD 20770


       RE: Trustees of the Bakery and Confectionery Union and Industry International
       Pension Fund v. Brown’s Bun Baking Company, et al., Civil Case No. PWG-20-2619

Dear Judge Grimm:

        I write on behalf of all counsel in this case to inform the Court that the three parties to the
case have collectively reached settlements in principle to resolve the claims in the case.
Because, however, the nature and terms of the settlements, which include certain real estate
transactions, are complex and intertwined with settlement discussions in another case pending in
another judicial district, resolving the outstanding contingencies and reducing the settlements to
final executed agreements will require both time and attention of the parties and third-party
professionals engaged to satisfy certain of the settlements’ terms. Accordingly, to allow the
parties to finalize the settlements, we jointly request that the Court stay the currently existing
discovery deadlines for a 90-day period. The parties are optimistic that the terms of settlements
in principle they have negotiated can be finalized and the case fully resolved within this time
frame.
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       The parties are available to conduct a telephonic status conference at the Court’s
convenience should the Court wish further information from the parties to consider the requested
90-day stay of existing discovery deadlines.


                                                   Respectfully submitted,


                                                   /s/ Robert Alexander
                                                   Robert Alexander
                                                   Counsel to Plaintiff

cc: Counsel of Record (via ECF)
